       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ROME DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )                 4:21-cv-48-WMR
                                               FILE No. _____________________
RPIH, LLC,                             )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant RPIH, LLC pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the

ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”). In support

thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


                                           1
        Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 2 of 12




of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Cartersville,

Georgia (Bartow County).

       4.     Plaintiff is an amputee and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant RPIH, LLC (hereinafter “Defendant”) is a Georgia limited

liability company that transacts business in the state of Georgia and within this

judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Robert N. Adams, 12 Bluegrass Cove, N.E., Cartersville,

Georgia 30121.

                            FACTUAL ALLEGATIONS

       9.     On or about December 6, 2020, Plaintiff was a customer at “Adam's

Bar-B-Q,” a business located at 140 E. Felton Road, Cartersville, 30120.


                                          2
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 3 of 12




      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately nine (9) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 140 E. Felton Road,

Cartersville, 30120 (Bartow County Property Appraiser’s parcel number C066-

0001-006), and/or full and equal enjoyment of the goods, services, foods, drinks,

facilities, privileges, advantages and/or accommodations offered therein were

denied and/or limited because of his disabilities, and he will be denied and/or

limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.


                                          3
        Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 4 of 12




      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                              COUNT I
                  VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

                                           4
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 5 of 12




by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in future as a


                                          5
        Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 6 of 12




customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.    A specific list of unlawful physical barriers, dangerous conditions and


                                           6
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 7 of 12




ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The Property lacks an accessible route from the public sidewalk

              to the accessible entrance(s) of the Facility, in violation of

              section 206.2.1 of the 2010 ADAAG standards.

      (ii)    The total number of accessible parking spaces on the Property

              is inadequate, in violation of section 208.2 of the 2010 ADAAG

              standards.

      (iii)   The signage for the existing accessible parking space on the

              Property is not installed at a permissible height, in violation of

              section 502.6 of the 2010 ADAAG standards.

      (iv)    The access aisle adjacent to the accessible parking space on the

              Property is not level due to the presence of a ramp within the

              boundaries of said access aisle, in violation of section 502.4 of

              the 2010 ADAAG standards.




                                           7
        Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 8 of 12




      (b)     INTERIOR ELEMENTS:

      (i)     The Facility lacks restrooms signage in compliance with

              sections 216.8 and 703 of the 2010 ADAAG standards.

      (ii)    Due to the placement of an affixed trash receptacle, the

              restroom doors in the Facility do not provide for permissible

              minimum maneuvering clearance, in violation of section

              404.2.4 of the 2010 ADAAG standards.

      (iii)   The hardware on the restroom doors in the Facility have

              operable parts that require tight grasping, pinching or twisting

              of the wrist, in violation of section 309.4 of the 2010 ADAAG

              standards.

      (iv)    The soap dispensers in the restrooms in the Facility are located

              outside the prescribed vertical reach ranges set forth in section

              308.2.1 of the 2010 ADAAG standards.

      31.     Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to exit and re-enter his vehicle and more

difficult for Plaintiff to utilize all features of the restroom while inside the Facility.

      32.     The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the


                                            8
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 9 of 12




Facility and Property.

      33.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      35.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      36.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be


                                         9
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 10 of 12




modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      43.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the


                                          10
       Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 11 of 12




             physical barriers to access and (ii) alter the subject Facility and

             Property to make them readily accessible to, and useable by,

             individuals with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: March 8, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.


                                         11
Case 4:21-cv-00048-WMR Document 1 Filed 03/08/21 Page 12 of 12




                            /s/Craig J. Ehrlich
                            Craig J. Ehrlich




                              12
